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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 MARC A. STEPHENS,                            Case No. 22-cv-01940-MCA-JBC

                   Plaintiff,

 V.

 EQUIFAX, INC., EQUIFAX
 INFORMATION SERVICES, LLC,
 AND EQUIFAX CONSUMER
 SERVICES LLC, EXPERIAN
 INFORMATION SOLUTIONS, INC.,
 SYNCHRONY FINANCIAL, A
 DELAWARE CORPORATION
 PAYPAL, INC., PAYPAL
 HOLDINGS, INC., A DELAWARE
 CORPORATION,                                                 ORDER

                   Defendants.


              THIS MATTER having come before the Court by Defendants PayPal, Inc.

 and PayPal Holdings, Inc., by and through their attorneys, on Motion to Compel

 Arbitration or, in the alternative, to dismiss Plaintiff Marc A. Stephens’ Complaint

 pursuant to Fed. R. Civ. P. 12(b)(6); and the Court having considered the

 submissions in support of the Motion; and the Court having considered opposition,

 if any; and the Court having heard oral argument, if any; and for good cause

 shown:

              IT IS on this ________day of _________________ 2022.

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              ORDERED that the Motion to Compel Arbitration is hereby GRANTED;

 and it is further

              ORDERED that Plaintiff’s claims against Defendants PayPal, Inc. and

 PayPal Holdings, Inc. must be arbitrated pursuant to the terms set forth in the

 agreement between the parties; and it is further

              ORDERED that Plaintiff’s Complaint against Defendants PayPal, Inc. and

 PayPal Holdings, Inc. be DISMISSED; and it is further

              ORDERED that in the alternative, Plaintiff’s Complaint against Defendants

 PayPal Inc. and PayPal Holdings, Inc. is DISMISSED pursuant to Fed. R. Civ. P.

 12(b)(6) with prejudice; and it is further

              ORDERED that a copy of this Order shall be served on all parties by

 Defendant PayPal, Inc. and PayPal Holdings, Inc.’s counsel within seven (7) days

 of receipt.




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